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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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11   MOLINA HEALTHCARE, INC., a                 Case No. 2:23-cv-07417-AB-JC
     California corporation; and
12   VINOD MOHAN, an individual,                ORDER DENYING EMERGENCY
                                                MOTION FOR STAY [Dkt. No. 13],
13                             Plaintiffs,      GRANTING APPLICATION FOR
                                                TEMPORARY RESTRAINING
14   v.                                         ORDER ]Dkt. No. 5], and ENTERING
                                                TEMPRORARY RESTRAINING
15   ELEVANCE HEALTH, INC., an                  ORDER AND ORDER TO SHOW
     Indiana corporation,                       CAUSE RE PRELIMINARY
16                                              INJUNCTION
                               Defendant.
17
18         Before the Court is an Application for Temporary Restraining Order (“TRO,”
19   Dkt. No. 5), filed by Plaintiffs MOLINA HEALTHCARE, INC., and VINOD
20   MOHAN (“Plaintiffs”) on September 7, 2023. Defendant ELEVANCE HEALTH,
21   INC. (“Defendant”) did not file a substantive opposition to the TRO, and instead filed
22   an Emergency Motion to Stay All Proceedings (“Motion to Stay,” Dkt. No. 13). The
23   Motion to Stay is DENIED as procedurally improper for the reasons stated in
24   Plaintiffs’ Opposition (Dkt. No. 16) thereto and in the Court’s Notice of Deficiency
25   (Dkt. No. 21). The Motion to Stay is also DENIED on its merits in light of Judge
26   Dinsmore’s determination in the parallel Indiana Action Elevance Health, Inc. v.
27   Vinod Mohan, Case No. 1:23-cv-01497-SEB-MJD, that the purported “agreement” on
28
                                              1.
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1    which the Motion for Stay rests does not exist because there was no meeting of the
2    minds. See Indiana Action Dkt. No. 33. In its Notice of Impending Status Conference
3    (Dkt. No. 19) informing this Court of the September 14 hearing before Judge
4    Dinsmore, Defendant stated that it opposed the Court granting the TRO for the
5    reasons stated in the Motion for Stay. But the Motion for Stay is denied, and
6    Defendant filed no substantive opposition to the TRO. Accordingly, the TRO is
7    unopposed. The Court also finds that the TRO is facially meritorious. Accordingly,
8    the TRO is GRANTED as unopposed and on the merits.
9
10   TO DEFENDANT ELEVANCE HEALTH, INC. AND ITS COUNSEL OF
11   RECORD:
12           YOU ARE HEREBY ORDERED TO SHOW CAUSE at 10:00 a.m., on
13   Tuesday September 26, 2023, in the courtroom of the Honorable André Birotte Jr.,
14   Courtroom 7B, located at 350 W. 1st Street, Suite 4311, Los Angeles, CA 90012, why
15   you, your officers, agents, servants, employees and attorneys and all those in active
16   concert or participation with you or them should not be restrained and enjoined
17   pending trial of this action from: Enforcing or seeking to enforce any and all Indiana
18   forum selection and choice-of-law provisions, non-competition provisions, and
19   customer non-solicitation provisions (which are de facto non-competition provisions)
20   contained in Ms. Mohan’s employment agreements (“Agreements,” as that term is
21   defined in the Complaint) with Elevance Health, Inc.
22
23           PENDING HEARING on the above Order to Show Cause, you, your officers,
24   agents, servants, employees and attorneys and all those in active concert or
25   participation with you or them ARE HEREBY RESTRAINED AND ENJOINED
26   from:
27           1.   Enforcing or seeking to enforce any and all Indiana forum selection
28   provisions contained in Ms. Mohan’s Agreements with Elevance Health, Inc.
                                           2.
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1            2.    Enforcing or seeking to enforce any and all Indiana choice-of-law
2    provisions in Ms. Mohan’s Agreements with Elevance Health, Inc.
3            3.    Enforcing or seeking to enforce any and all non-competition provisions
4    in Ms. Mohan’s Agreements with Elevance Health, Inc.
5            4.    Enforcing or seeking to enforce any and all customer non-solicitation
6    provisions contained in Ms. Mohan’s Agreements with Elevance Health, Inc.
7
8            The above Temporary Restraining Order is effective immediately.
9
10           This Order to Show Cause and supporting papers must be served on Defendant
11   immediately but no later than September 16, 2023, and proof of service must be
12   filed by September 18, 2023.
13           Any response or opposition to this Order to Show Cause must be filed and
14   personally served on Plaintiffs’ counsel by 5:00 p.m. PST on Wednesday
15   September 20, 2023, and proof of service must be filed by September 21, 2023.
16           Any reply to any response/opposition must be filed by 5:00 p.m. PST on
17   Friday September 22, 2023, and proof of service must be filed by September 25,
18   2023.
19           IT IS SO ORDERED.
20
21   Dated: September 15, 2023        _______________________________________
22                                    HONORABLE ANDRÉ BIROTTE JR.
                                      UNITED STATES DISTRICT COURT JUDGE
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